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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 JAMAL WILLIAMS,
                                                                                            10/16/2020
                 Plaintiff,

         -against-                                     17-CV-2351 (BCM)

 AARON JOHNSON,                                        ORDER

                 Defendant.

BARBARA MOSES, United States Magistrate Judge.

        On March 31, 2019, after discovery concluded in this action, the Hon. Edgardo Ramos,
United States District Judge, granted summary judgment to defendant Johnson as to plaintiff's
claims for false arrest and failure to intervene, but denied the motion as to plaintiffs' remaining
two claims, for malicious prosecution and denial of the right to a fair trial. (Dkt. No. 47.)
Additionally, Judge Ramos sua sponte dismissed the John Doe defendants. (Id.) Accordingly, this
case is trial-ready as to plaintiff's remaining claims against defendant Johnson.

        On April 25, 2019, Judge Ramos scheduled trial to commence on June 24, 2019, and
directed the parties to file their proposed joint pretrial order and related documents in advance of
that date. Thereafter, the parties requested and obtained two adjournments of the trial date and
attendant pretrial deadlines (Dkt. Nos. 50-53) and consented to the jurisdiction of the assigned
Magistrate Judge to conduct all further proceedings in this action, including trial, in accordance
with 28 U.S.C. § 636(c) and Fed. R. Civ. 73. (Dkt. No. 53.) On October 6, 2020, Judge Ramos
countersigned the consent and referred the case to me for all purposes. (Dkt. No. 54.)

        All motions and applications must be made in compliance with my Individual Practices in
Civil Cases, and Emergency Individual Practices in Civil Cases, both available at
http://www.nysd.uscourts.gov/hon-barbara-moses.

        A telephonic trial scheduling conference will take place on November 5, 2020 at 11:00
a.m. At that time the parties shall call (888) 557-8511 and enter the access code 7746387. Please
treat the conference as you would a public court appearance. If a conference or hearing in
another matter is ongoing, please be silent (mute your line) until your case is called.

         In advance of the conference, counsel should familiarize themselves with §§ 4-5 of my
Individual Practices, governing pre-trial and trial procedures. Counsel should also review their
schedules, and the schedules of their clients and witnesses, for the next six months, and consider
the impact of the ongoing COVID-19 pandemic on their trial planning. Although the Court has
resumed scheduling civil jury trials, the number of suitably equipped courtrooms available for such
trials is limited, leading to longer than usual delays in jury trial scheduling and a higher than usual
risk that any scheduled trial date will be subject to postponement. A bench trial is more likely to
be scheduled promptly and less likely to be postponed once scheduled. Additionally, if the parties
consent or the Court so orders, a bench trial can be conducted with one or more of the attorneys,
parties and witnesses appearing remotely, via videoconference.
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        In advance of the trial scheduling conference, and no later than October 29, 2020, the
parties shall submit a joint letter, which addresses:

       (1) Whether, under present circumstances, the parties continue to demand a jury trial;
       (2) if not, when will they be ready for a bench trial, and how they propose to conduct it
           (entirely in person or partially remote);
       (3) whether they anticipate any limine motions or other pretrial motion practice; and
       (4) any other issues relevant to the efficient resolution of this action by trial or otherwise.

Dated: New York, New York
       October 16, 2020

                                              SO ORDERED.



                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge




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